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                                  FEDERAL DEFENDER PROGRAM, INC.
                                            UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF GEORGIA

                                         CENTENNIAL TOWER, SUITE 1500
                                           101 MARIETTA STREET N.W.
STEPHANIE KEARNS
                                            ATLANTA, GEORGIA 30303                             TELEPHONE
EXECUTIVE DIRECTOR                                                                              404 688-7530
                                                                                                800 688-7538
                                                                                                     FAX
                                                                                                404 688-0768



                                             February 20, 2013

       Via ECF

       Courtroom Deputies
       United States District Court
         for the Northern District of Georgia
       75 Spring Street, S.W.
       Atlanta, Georgia 30303

       Re:       Leave of Absence

       Dear Courtroom Deputies:

             This letter is to notify the Court pursuant to Local Criminal Rule 57.1E(4), as lead
       counsel in the attached matters, that I will be out of the office beginning March 29, 2013
       through and including April 8, 2013. It is respectfully requested that the Court not
       schedule any court appearances in the cases during that time.

                 Thank you for your consideration in this matter.

                                          Sincerely,

                                          /s/ W. Matthew Dodge
                                          W. Matthew Dodge
                                          Staff Attorney
       WMD:jm
       Attachment

       cc:       AUSAs (Via ECF)
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                      CASE LIST OF W. MATTHEW DODGE


United States v. Jose Barragan-Miranda       Case No. 1:13-CR-016-TWT-GGB

United States v. Jesus Bocanegra             Case No. 1:13-CR-039-WBH-JSA

United States v. Emma Lomeli                 Case No. 1:12-CR-224-ODE-GGB-8

United States v. Paul Bernard Parker         Case No. 1:12-CR-166-RWS-AJB

United States v. Dequavious Johnson          Case No. 1:12-CR-257-AT-AJB

United States v. Edward Kim                  Case No. 1:12-CR-323-WSD-ECS

United States v. Jonathan Middlebrooks       Case No. 1:13-CR-010-SCJ-RGV-1

United States v. David Salas                 Case No. 1:12-CR-206-TCB-ECS-3

United States v. Anthony Walker              Case No. 1:12-CR-325-RWS-JSA
